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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


 CHILD TRENDS, INCORPORATED,                     Case No. 25-cv-1479
 12300 Twinbrook Parkway, Suite 235
 Rockville, Montgomery County, MD
 20852,

                   Plaintiff,

                       v.

 ROBERT F. KENNEDY, JR., in his official
 capacity as Secretary of Health and Human
 Services,
 200 Independence Avenue, S.W.,
 Washington, D.C. 20201,

 ANDREW GRADISON, in his official
 capacity as Acting Assistant Secretary at the
 Administration for Children and Families,
 330 C St, S.W.,
 Washington, D.C. 20201,

                  Defendants.


            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

       1.      Plaintiff Child Trends, Incorporated brings this action to prevent the imminent

termination without due process of seven federal grants, totaling over $4 million, awarded to

Child Trends by the Department of Health and Human Services (HHS).

       2.      Child Trends is a nonprofit organization based in Rockville, MD, and is

dependent on federal funding through government grants and contracts. Child Trends has

structured its entire business in reliance on the federal government abiding by the laws and

regulations governing its grant awards.
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        3.     Unlike most grants through the federal government, HHS may not terminate Child

Trends’s grants based on new policy preferences or other policy reasons. The HHS regulations

governing Child Trends’s grants are clear that HHS may terminate such grants only (1) if the

grantee “fails to comply with the terms and conditions of the award”; or (2) “for cause.”

        4.     However, a week ago, HHS mistakenly emailed to Child Trends and other

grantees a spreadsheet showing that HHS is planning to terminate en masse more than 150

research grants previously awarded by HHS’s Administration for Children and Families (ACF),

including seven grants awarded to Child Trends.1

        5.     Although HHS has provided Child Trends no indication that it is failing to

comply with the terms and conditions of these grants, or has committed other misconduct that

would constitute cause for termination, HHS appears set on terminating these grants imminently,

without any pre-deprivation due process, in the hope that once the grants are terminated, grantees

such as Child Trends will be left without an effective legal remedy to challenge the terminations

in court.

        6.     The Due Process Clause does not permit this unlawful gambit. It is a bedrock

principle of constitutional law that the government cannot deprive individuals or organizations of

their property interests without due process. Child Trends has a property interest in obligated

grant funds it has been awarded, and yet the government does not plan on providing it any

process before terminating millions of dollars in grant awards to Child Trends, on the basis that

for some previously unknown reason Child Trends has engaged in conduct justifying a for-cause

termination.



1
  Ryan J. Foley, Email Mistake Reveals Secret Plans to End Research on Head Start and Other
Safety Net Programs, May 2, 2025, https://apnews.com/article/children-head-start-research
-cuts-trump-hhs-ecfa2b140990057eb412e476dc875ffa.


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        7.      Because the imminent, unlawful termination of these grants would irreparably

injure Child Trends and its 250 employees, and the risk of erroneous termination of these grants

without due process is so high, Plaintiff seeks a temporary restraining order preventing the

government from terminating the grants without providing Child Trends fair notice and a

meaningful opportunity to be heard.

                                            PARTIES

        8.      Plaintiff Child Trends, Incorporated (Child Trends) is a nonprofit research

organization founded in 1979 that maintains its principal place of business in Rockville,

Maryland. Child Trends focuses on improving the lives of children, youth, and families. Since

2022, Child Trends has received a number of grants from HHS’s Administration for Children

and Families. For example, in September 2023, Child Trends was awarded a $1,550,000 grant to

develop a research center on the strengths and needs of Hispanic children and families with low

incomes. The Center plays a critical role in helping program leaders, policymakers, and service

providers ensure that Hispanic Americans have equal access to federal programs.

        9.      Defendant Robert F. Kennedy, Jr. is Secretary of the United States Department of

Health and Human Services and that agency’s highest ranking official. He is charged with the

supervision and management of all decisions and actions of that agency. 42 U.S.C. § 300u. He is

sued in his official capacity.

        10.     Defendant Andrew Gradison is the Acting Assistant Secretary at the

Administration for Children and Families at HHS. He is sued in his official capacity.

                                 JURISDICTION AND VENUE

        11.     This court has subject-matter jurisdiction to adjudicate these claims because this

action arises under the Constitution and laws of the United States, 28 U.S.C. § 1331; and because




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Defendants are United States officials, 28 U.S.C. § 1346(a)(2).

       12.     This court may grant declaratory, injunctive, and other relief pursuant to 28

U.S.C. §§ 2201-2202, and the court’s inherent authority to enjoin federal officials from acting

unlawfully.

       13.     Venue is appropriate under 28 U.S.C. § 1391 in the District of Maryland because

Plaintiff Child Trends maintains its principal place of business in Maryland and, as such, a

substantial part of the events giving rise to this Complaint have taken place in Maryland.

                          FACTUAL AND LEGAL BACKGROUND

Child Trends Structures Its Business in Reliance on the Government Acting Lawfully

       14.     Over four decades, Child Trends has worked to become a nationally recognized

nonprofit research organization that provides trusted, reliable data and analysis on the well-being

of children and families. It has accomplished this by partnering with federal, state, and local

agencies to deliver evidence-based insights to policymakers at every level.

       15.     Child Trends is a project-based organization. This means that it has no

meaningful source of funding outside of its ongoing contracts and grants. Despite this, Child

Trends has always maintained sufficient work and, until the last few months, has never had to

layoff groups of program staff for lack of work.

       16.     About 80% of Child Trends’s funding comes from the U.S. government, primarily

the U.S. Departments of Education and Health and Human Services. More than half of that work

is in the form of grants and cooperative agreements.

       17.     Child Trends’s success in finding ongoing work has been attributable in part to its

ability to plan for the future. It knows grant lifespans years in advance, and carefully manages

development cycles to prevent gaps in project work. Even under sequestration, this careful




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planning allowed Child Trends to maintain staff as current projects finished out their periods of

performance and new projects from other funders ramped up.

       18.     Child Trends has been able to hire staff, bid for projects, and invest in the long-

term success of its business only because of the stability that federal grant programs provide. For

example, Child Trends has been able to rely on the fact that, if the federal government enters into

a cooperative agreement for a project period of several years, it will receive a steady stream of

payments during that period, so long as Child Trends performs its obligations under the

agreement.

HHS Awards Millions in Grants to Child Trends

       19.     In recent years, Child Trends has received a number of grants from HHS funded

under various statutory programs, including section 413 of the Social Security Act, the Child

Care and Development Block Grant Act, and the Head Start Act.

       20.     For example, in 2023, HHS’s Administration for Children and Families (ACF)

issued a funding opportunity announcement inviting applications for the establishment of a

Center for Research on Hispanic Children and Families, to lead and support investigation of the

needs of Hispanic populations served by ACF. The Center was tasked with investigating the best

approaches to promote social and economic well-being among Hispanic children and families

with low incomes.

       21.     In September 2023, HHS awarded a grant to Child Trends to develop the Center

and obligated $1,550,000 in federal funds for that purpose. See Ex. A. The period of performance

for the award was September 30, 2023 to September 29, 2028.

       22.     In connection with the grant award, Child Trends entered into a cooperative

agreement with ACF’s Office of Planning, Research and Evaluation (OPRE). Under the

agreement, OPRE agreed to make grant awards to Child Trends in accordance with approved


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annual applications and semi-annual reviews of performance progress and expenditures. See id.

at 6.

        23.    The purpose of the Center was to bring together a diverse, interdisciplinary team

of academic, organizational, and community-based partners to conduct research that could

inform policies concerning Hispanic families with low incomes. The Center was to focus broadly

on child care and early education, Head Start, services to support self-sufficiency and economic

mobility of families with low incomes.

        24.    In July 2024, HHS obligated an additional $1,550,000 in federal funds through

September 2025 for Child Trends to continue its work on the Center. See Ex. B.

        25.    As another example, in August 2024, HHS awarded Child Trends a grant to

develop and implement a Child Care Policy Research Partnerships project on advancing

equitable access to high quality child care and early education for South Carolina families. See

Ex. C. HHS obligated $400,000 to Child Trends through September 29, 2025, and the period of

performance for the award was through September 29, 2029. In connection with the grant award,

Child Trends again entered into a cooperative agreement with OPRE.

        26.    Similarly, in September 2022, HHS awarded Child Trends a grant to research how

the supply and demand for child care shifted in Maryland during the COVID-19 pandemic. See

Ex. D. In connection with the grant, HHS has obligated $400,000 in federal grant funds each

year since the grant was awarded, for a total of $1,200,000 in total federal funds approved. This

funding was supposed to continue through September 2026.

        27.    Other grant awards that Child Trends received are reflected in the table below:




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 Project title                         Award        Amount of          Period of performance
                                       number       Federal Award

 Effects of CCDF Payment               90YE0297 $400,000               09/30/2023 to 09/29/2027
 Policies on Equitable Access to
 High-Quality Subsidized Care in
 Vermont

 Migrant and Seasonal Head Start       90YR0187 $100,000               09/30/2024 to 03/29/2026
 Families’ Experiences of Support:
 The Role of Family
 Characteristics and Cultural-
 Familial Values
 Mapping Affordability: Child          90YE0325 $99,945                09/30/2024 to 03/30/2026
 Care Payments of Families Using
 Housing Vouchers


 How Do Subsidy Policies Affect        90YE0322 $100,000               09/30/2024 to 03/30/2026
 Child Care Access for Families of
 Children with Disabilities?




See Exs. E-H.

       28.       For each of these grants, Child Trends has not been informed by HHS of any

failure to comply with the terms and conditions of the grant awards, and HHS has not informed

Child Trends of any other possible basis for terminating the awards for cause.

HHS May Only Terminate Grants Under Specific Conditions Not Met Here

       29.       The HHS grants at issue are governed by the HHS’s Uniform Administrative

Requirements, Cost Principles, and Audit Requirements for HHS Awards that have been in

effect since December 19, 2014. See 45 C.F.R. part 75. These regulations set forth in detail the

circumstances under which a grant award may be terminated. See 45 C.F.R. § 75.372.

Specifically, HHS may terminate an award without the grantee’s consent only (1) if the grantee




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“fails to comply with the terms and conditions of the award”; or (2) “for cause.” 45 C.F.R. §

75.372(a).

       30.     Notably, neither HHS nor ACF ever adopted the 2020 version of the Office of

Management and Budget’s (OMB) Uniform Grants Guidance, which other agencies throughout

the government have recently been relying on to terminate grants. OMB’s Uniform Grants

Guidance is a template of regulations that agencies may adopt to govern their administration of

grants. OMB’s Guidance is not effective in its own right; it applies to an agency’s grants only if

the agency adopts OMB’s Guidance. 2 C.F.R. §§ 1.105(b)-(c). In 2020, OMB amended its

guidance to add a provision that would allow agencies to terminate grants where the grant no

longer effectuates “program goals or agency priorities.” 85 Fed. Reg. 49506, 49559 (Aug. 13,

2020) (revising 2 C.F.R. § 200.340(a)(2)). While most agencies of the federal government

adopted this provision and the 2020 OMB guidance more generally, HHS and ACF never did.

See 45 C.F.R. § 75.110.2

       31.     Thus, HHS’s regulations do not permit HHS to terminate grants at will or simply

because a grant does not meet a new Administration’s priorities.

HHS Mistakenly Sends Spreadsheet Revealing Imminent Termination of Child Trends Grants

       32.     On April 30, 2025, an HHS contractor sent an email to Child Trends and other

grantees that mistakenly included information concerning its plans to terminate more than 150

research grants related to child and family well-being.3



2
 HHS has recently adopted a new version of OMB’s Guidance issued in 2024, but that new
version revised the 2020 version’s termination provision and does not go into effect until
October 1, 2025. 89 Fed. Reg. 80055 (Oct. 2, 2024).
3
 Associated Press, List of Child Welfare Research Grants Marked for Termination in Mistaken
HHS Email, May 2, 2025, https://apnews.com/article/hhs-research-grants-head-start-cuts-
d97f584304fa26fb6d4fe0651f8ba059.


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       33.     Although the email purported to be seeking updated contact information from

grantees, the sender attached an excel spreadsheet to the email that included a column stating

whether each grant would be “terminated” or “continued.” 4

       34.     According to the spreadsheet, of the 177 listed grants, HHS intended to continue

only 21 of them, or 12% of the total listed grants. OPRE was responsible for $154 million in

grants and contracts in fiscal year 2024.

       35.     The grants slate for termination included all seven of the Child Trends grants

identified above.

       36.     An HHS official later claimed that the spreadsheet represented only an “outdated”

draft. On information and belief, however, the spreadsheet represents the true list of grants that

HHS intends to terminate imminently.

Child Trends Will be Irreparably Harmed by the Planned Grant Terminations

       37.     If HHS proceeds with unlawfully terminating the Child Trends grants, the

organization will be imminently and irreparably harmed.

       38.     As explained above, Child Trends is a project-based nonprofit and relies almost

entirely on federal grants and contracts.

       39.     As of January 2025, Child Trends had about two months of funds in reserves.

       40.     Due to other recent grant terminations,5 Child Trends has already had to

undertake three rounds of layoffs. The first round required laying off 12 staff members, reducing

working hours for 4 additional staff, and reducing salaries for all 11 members of its leadership


4
  Ryan J. Foley, Email Mistake Reveals Secret Plans to End Research on Head Start and Other
Safety Net Programs, May 2, 2025, https://apnews.com/article/children-head-start-research-cuts-
trump-hhs-ecfa2b140990057eb412e476dc875ffa.
5
  Child Trends is separately challenging actions by the Department of Education with respect to
these other grant terminations. See Child Trends v. Dep’t of Educ., No. 8:25-cv-01154 (D. Md.).


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team. The second round involved another layoff of 9 staff and required additional staff to reduce

their time. A third round involved layoffs of two additional staff.

       41.     If HHS proceeds with the seven grant terminations at issue here, Child Trends

will need to immediately lay off at least another 20 staff members. The layoffs will include

scholars with critical knowledge about childcare quality, supply, subsidies, access, and

affordability work.

       42.     Moreover, if the grant for the National Research Center on Hispanic Children and

Families is terminated, the Center will not be able to continue, wasting years of effort and

taxpayer dollars.

       43.     Having to disclose that its grants were terminated will also likely make future

awards more difficult to obtain. Child Trends risks losing trust with its state and local partners,

who may now question the sustainability of its work. The organization also risks losing its

reputation as a secure place for employees to build a long-term career.

       44.     In short, there is a real risk that these imminent grant terminations, when

combined with other recent cuts in federal funding, will pose an existential risk to Child Trends,

a nonprofit that has served Maryland and the nation for over four decades.

                                     CLAIMS FOR RELIEF

                    Violation of Procedural Due Process (Fifth Amendment)
                                    (Against all Defendants)

       45.     Plaintiff hereby incorporates by reference the foregoing paragraphs of the

Complaint as if set forth herein.

       46.     Under the Fifth Amendment to the United States Constitution, the government

may not deprive a person or entity of a protected property interest without due process of law.

       47.     Plaintiff has a property interest in grant funds it has been awarded. Under federal



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law, a grant or cooperative agreement creates “obligation of the United States Government,” see

31 U.S.C. § 1501(a)(5), and an “obligation” represents “a legal liability” held by the Government

“to disburse funds immediately or at a later date as a result of a series of actions.” 50 C.F.R. §

80.91. Plaintiff has relied on these grants and the protection in HHS regulations that such grants

could only be terminated for cause.

       48.     Termination of Plaintiff’s grants without pre-deprivation notice and a reasonable

opportunity to be heard would violate the Due Process Clause, because the private interests at

stake are enormous, the risk of erroneous deprivation is very high, and the burden on the

government of providing pre-deprivation due process would be relatively low.

       49.     Federal courts have the equitable power to enjoin unlawful actions by executive

officials. Armstrong v. Exceptional Child Ctr., Inc., 575 U.S. 320, 326-27 (2015). This Court can

and should exercise its equitable power to enter appropriate declaratory and injunctive relief.

                                    REQUEST FOR RELIEF

WHEREFORE, Plaintiff request that this Court:

       A.      Declare that Defendants must provide Plaintiff with adequate pre-deprivation

notice and a reasonable opportunity to be heard before terminating Plaintiff’s seven grants

identified above;

       B.      Enjoin Defendants from terminating the grants until they provide Plaintiff with

adequate pre-deprivation notice and a reasonable opportunity to be heard;

       C.      Award Plaintiffs reasonable costs and attorneys’ fees; and

       D.      Award such other relief as this Court may deem just and proper.




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May 7, 2025                       Respectfully submitted,

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